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Fifty-Fifth Report
of the Independent Monitor
for the Oakland Police Department

Introduction
This is our fifty-fifth status report on the Negotiated Settlement Agreement (NSA) in the case of
Delphine Allen, et al., vs. City of Oakland, et al., in the United States District Court for the
Northern District of California under the direction of Judge William H. Orrick. I was appointed
in 2010 to oversee the monitoring process of the Oakland Police Department (OPD) that began
in 2003.
This report covers our site visit of July 9-10, 2018; and describes our recent assessments of NSA
Tasks 20, 34, 41, and 45. As we have noted previously, following the Court’s Order of May 21,
2015, in our monthly reports, we devote special attention to the most problematic component
parts of the Tasks that are not yet in full or sustained compliance, and discuss the most current
information regarding the Department’s progress with the NSA and its efforts at making the
reforms sustainable.


Increasing Technical Assistance
Each month, our Team conducts visits to Oakland that include both compliance assessments and
technical assistance. During our visits, we meet with Department and City officials; observe
Department meetings and technical demonstrations; review Departmental policies; conduct
interviews and make observations in the field; and analyze OPD documents and files, including
misconduct investigations, use of force reports, crime and arrest reports, Stop Data Forms, and
other documentation. We also provide technical assistance in additional areas, especially those
that relate to the remaining non-compliant Tasks or areas identified by the Department.
Within the last several months, we have provided technical assistance to OPD officials in the
areas of IAD investigation quality (Task 5); stop data and related issues (Task 34); risk
management and the ongoing maintenance issues and development of the Performance
Reporting Information Metrics Environment (PRIME) systems (Task 41); and several
Department policies and procedures, including policies related to PRIME, officer discipline,
probationers and parolees, handcuffing, and the use of electronic control weapons.
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Building Internal Capacity at OPD
Also per the May 21, 2015 Court Order, we continue to work closely with the Office of Inspector
General’s (OIG) lieutenant and staff to identify areas that it should audit or review – and to help
design approaches to these audits that are not cumbersome, so as to ensure sustainability. We
review OIG’s now-quarterly progress reports, which are a valuable resource and assist us in
assessing compliance with NSA requirements.




                                   Focused Task Assessments


Task 20: Span of Control
Requirements:
On or before August 14, 2003, OPD shall develop and implement a policy to ensure appropriate
supervision of its Area Command Field Teams. The policy shall provide that:
        1.       Under normal conditions, OPD shall assign one primary sergeant to each Area
                 Command Field Team, and, in general, (with certain exceptions) that supervisor’s
                 span of control shall not exceed eight (8) members.
        2.       During day-to-day operations, in the absence of the primary supervisor (e.g., due
                 to sickness, vacation, compensatory time off, schools, and other leaves), the
                 appropriate Area Commander shall determine, based on Department policy and
                 operational needs, whether or not to backfill for the absence of the sergeant on
                 leave.
        3.       If a special operation, (e.g., Beat Feet, Special Traffic Offenders Program
                 (STOP), etc.) requires more than eight (8) members, the appropriate Area
                 Commander shall determine the reasonable span of control for the supervisor.
        4.       If long-term backfill requires the loan or transfer of a supervisor from another
                 unit, the Chief of Police and/or the Deputy Chief of Police shall make that
                 decision.
(Negotiated Settlement Agreement IV. C.)
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Relevant Policy:
Three Departmental policies incorporate the requirements of Task 20: Departmental General
Order A-19, Supervisory Span of Control, issued on July 26, 2006; Departmental General Order
D-13, Assignment to Acting Higher Rank or Classification, issued on June 17, 1999; and
Departmental General Order D-13.1, Assignment to Acting Sergeant of Police, issued on May 14,
2014. (The publication of DGO D-13.1 cancelled Special Order 8435, which previously
governed the selection process of acting sergeants.)


Commentary:
To assess these requirements for this report, we reviewed spreadsheets prepared by the
Department for the months of April, May, and June 2018 that, by date, note which type of
sergeant supervised each applicable squad – a primary sergeant, relief sergeant, acting sergeant,
other sergeant (one working overtime), or none. (The Department refers to unsupervised squads
as “open.”) We calculated per squad the compliance percentages for this subtask during this
time period. Each of the 49 applicable squads were in compliance – that is, all applicable squads
during this time period were supervised by either a primary, relief, or other/overtime sergeant for
at least 85% of their working shifts. We also found that none of the applicable squads exceeded
the required 1:8 supervisor to officer ratio at least 90% of their working shifts.
OPD continues to be in compliance with these important requirements. We are encouraged that
the Department has institutionalized the sound practices of tracking how each squad is
supervised each day; planning, when possible, for expected absences; and thoughtfully
considering how to fill in for personnel who are absent unexpectedly.




Task 26: Force Review Board (FRB)
Requirements:
OPD shall develop and implement a policy concerning its FRB proceedings. The policy shall:
        1.       Set out procedures, membership and a timetable for FRB review of use of force
                 investigations involving Level 2 incidents, as defined in Department General
                 Order K-4, REPORTING AND INVESTIGATING THE USE OF FORCE;
        2.       Require the FRB to review all use of force investigations;
        3.       Require the FRB to make a recommendation as to whether the use of force was in
                 policy or out of policy;
        4.       Require the FRB to forward sustained policy violations to the Discipline Officer.
        5.       Require the FRB not to review any use of force allegation until the internal
                 investigations has been completed;
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         6.       Authorize the FRB to recommend to the Chief of Police additional use of force
                  training or changes in policies or tactics, or additional standards, investigatory
                  policies, or training for use of force investigations;
         7.       Require the FRB to conduct an annual review of use of force cases examined, so
                  as to identify any patterns of use of force practices that may have policy or
                  training implications, and thereafter, issue a report to the Chief of Police;
         8.       Require that the FRB membership include, at a minimum, one member from the
                  Training Division, one member from the Field Training Officer program, and
                  either the Bureau of Field Operations Deputy Chief or his/her designee;
         9.       Minimally, that one member of the FRB shall be replaced at least annually.
(Negotiated Settlement Agreement V. C.)


Relevant Policy:
Department General Order K-4.1, Force Review Boards, was originally published on February
17, 2006, and revised on December 21, 2015.


Commentary:
OPD Force Review Boards, comprised of three command-level staff, are periodically convened
to examine the investigations conducted relative to the deployment and application of Level 2
uses of force.1 OPD achieved compliance with this Task during the nineteenth reporting period
(April 1-June 30, 2014); we continue to assess the Department’s compliance due to the serious
nature, complexities involved, and negative impact inappropriate uses of force may have on the
community. Our review includes analyses of force reports and attendance at Force Review
Boards when OPD conducts them during our site visits.
OPD conducted 19 Force Review Boards during 2017, and five thus far in 2018, one of which
we observed during our July site visit. The event the board examined involved officers stopping
a vehicle and attempting to take the an occupants into custody for narcotics violations. The
individual posed significant resistance, which resulted in officers grabbing, using control holds
and strikes, and deploying the Electronic Control Weapon (Taser).


1
  According to OPD, Level 2 uses of force include: “1) Any strike to the head (except for an intentional strike with
an impact weapon); 2) Carotid restraint is applied that does not result in the loss of consciousness; 3) Use of impact
weapons, including specialty impact munitions or any other object, to strike a subject and contact is made,
regardless of injury; 4) Any unintentional firearms discharge that does not result in injury; 5) A police canine bites
the clothing or the skin of a subject, or otherwise injures a subject requiring emergency medical treatment (beyond
first-aid) or hospital admittance; 6) Any use of force which results in injuries to the subject requiring emergency
medical treatment (beyond first-aid) or hospital admittance; (NOTE: For the purposes of this order, an evaluation by
a medical professional to assess a complaint of injury is not emergency treatment) 7) Any Level 3 use of force used
on or applied to a restrained subject; 7.a) A restrained subject is a person who has been fully placed in a Department
authorized restraint device such as both hands handcuffed, a WRAP or Rip Hobble; 7.b) A subject with only one
handcuff on is not a restrained person.”
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The FRB conducted an intensive inquiry and assessment regarding OPD policy and training
applicable to this event; in particular, the board questioned in-house subject matter experts
regarding the specific training and accepted practice relating to the conditions confronting
officers and appropriate responses (authorized force) applicable to each use of force officers
deployed during this event.
After its lengthy, in-depth review of this event, the FRB found each use of force consistent with
policy at the time each use of force was deployed. We concur with the board’s findings.
Force data provided by the Department indicates a decrease of 75% in use of force incidents
between 2012 and 2017. To date in 2018, force data indicates an additional decrease of 41% for
the period ending June 30. The principal decrease is reflected in Level 4 force, which alone has
decreased by 46%.2
This progress and the resultant numbers should prompt a need for validation. A first step is to
determine whether arrests have decreased; accordingly, decreasing uses of force. Our review of
OPD arrest data for the period in question finds no commensurate reduction in arrests; rather, the
data indicates that the number of arrests remained stable or slightly increased during the
applicable time period. We, with the assistance of the Officer of Inspector General (OIG), are
continuing the validation process via a review of specified categories of arrest and use of force
reports. We will include the results of our review in a future monthly status report.




Task 30: Executive Force Review Board (EFRB)
Requirements:
        1.       An EFRB shall be convened to review the factual circumstances surrounding any
                 Level 1 force, in-custody death, or vehicle pursuit-related death incidents. A
                 firearm discharge at an animal shall be reviewed by the EFRB only at the
                 direction of the Chief of Police. The Board shall have access to recordings
                 and/or transcripts of interviews of all personnel on the scene, including witnesses,
                 and shall be empowered to call any OPD personnel to provide testimony at the
                 hearing.
        2.       OPD shall continue the policies and practices for the conduct of EFRB, in
                 accordance with the provisions of DGO K-4.1, FORCE REVIEW BOARDS.
(Negotiated Settlement Agreement V. G.)




s2 OPD Level 4 uses of force include: “1) The intentional pointing of a firearm at a person. 2) A Weaponless
Defense Technique is applied to a Vulnerable Area, excluding strikes (e.g., Hair grab, pressure to mastoid or jaw
line; and shoulder muscle grab). 3) An on-duty firearm discharge to dispatch an injured animal; or 4) A weaponless
Defense Technique Control Hold is applied: a. Escort (elbow); b. Twist lock: c. Arm-bar; or d. Bent-wrist. 5) A
canine deployment in which a suspect is located by the canine, but no bite occurs.
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Relevant Policy:
Department General Order K-4.1, Force Review Boards, was published on February 17, 2006,
and revised on December 21, 2015.


Commentary:
Executive Force Review Boards (EFRBs), consisting of three top command-level staff, conduct
thorough, detailed reviews of all Level 1 uses of force, in-custody deaths, and vehicle pursuit-
related deaths.
OPD achieved compliance with this Task during the nineteenth reporting period (April 1-June
30, 2014); we continue to review and report on the compliance status of this Task due to the
serious nature of officers’ Level 1 uses of force.
Consistent with our commentary in Task 26 above, the overall use of Level 1 force by officers
has significantly decreased from an average of nine each year. Specifically, OPD recorded no
officer-involved shooting events in 2016, one in 2017, and one in 2018. The 2018 event, which
occurred in March, involved the use of deadly force by multiple officers and currently remains
under investigation.
OPD remains in compliance with this Task.




Task 34: Vehicle Stops, Field Investigation, and Detentions
Requirements:
        1.       OPD shall require members to complete a basic report on every vehicle stop, field
                 investigation and every detention. This report shall include, at a minimum:
                 a.       Time, date and location;
                 b.       Identification of the initiating member or employee commencing after the
                          first year of data collection;
                 c.       Reason for stop;
                 d.       Apparent race or ethnicity, and gender of individual(s) stopped;
                 e.       Outcome of stop (arrest, no arrest);
                 f.       Whether a search was conducted, and outcome of search;
                 g.       Offense categories (felony, misdemeanor or infraction).
        2.       This data shall be entered into a database that can be summarized, searched,
                 queried and reported by personnel authorized by OPD.
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        3.       The development of this policy shall not pre-empt any other pending or future
                 policies and or policy development, including but not limited to “Promoting
                 Cooperative Strategies to Prevent Racial Profiling.”
        (Negotiated Settlement Agreement VI. B.)


Relevant Policy:
Department policies relevant to Task 34 include: General Order M-19, Prohibitions Regarding
Racial Profiling and Other Bias-Based Policing; Report Writing Manual (RWM) Inserts R-2, N-
1, and N-2; Special Order 9042, New Procedures Regarding Stop Data Collection (published
June 2010); and Special Order 9101, Revised Stop Data Collection Procedures (published
November 2012).


Commentary:
Compliance with Task 34 includes three principal components:
    1) The collection of stop data in a manner that will allow analysis for data indicators of
       disparate treatment among the identified population groups;
    2) Departmental analyses of the data for the presence or absence of indicators of disparate
       treatment among the population groups, and where indicated; and
    3) The implementation of corrective measures – i.e., policy revisions, training, or other
       individualized intervention – where warranted.
As noted in several previous status reports, OPD continues to collect and store data, as described
in Task 34.1 (a.-g.), as required. The data is sufficiently detailed, accurate, and voluminous for
analysis to determine the lawful basis for stops and further to identify indicators of disparate
treatment – therefore, satisfying component 1, above. In addition, the collection process –
internally developed by dedicated and talented OPD personnel – is continually assessed and
strengthened; and which more recently, involves the development of proposed revisions to
address state stop data reporting requirements outlined in California Assembly Bill 953. During
our monthly site visits, the Department provides us with regular briefings on its progress.
OPD compiles the stop data in a series of illustrations for analysis during monthly Risk
Management Meetings, at which Area commanders review the illustrated data with the objective
of identifying and addressing indicators of disparate treatment among the population groups.
The presentation often contains data that may be indicative of racial bias worthy of follow-up
analysis, with the purpose of ascertaining whether or not it equates to disparate treatment of one
or more population groups by an OPD Area, its supervisors, or individual officers. However,
rather than a detailed analysis and discussion regarding the specific reasons for data that may be
indicative of racial disparities, the discussion at the Risk Management Meetings generally
focuses on operational elements – including strengths and shortcomings of the OPD intelligence-
led policing model (which is discussed below). Accordingly, OPD has not yet fully achieved the
requirements of component 2 or 3, which requires corrective measures when deemed necessary.
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OPD is presently placing considerable emphasis of the full implementation of an intelligence-led
policing model, which we have discussed in previous reports. Per OPD, in such a model,
“Officers possess knowledge, which can be linked to an articulable source, leading to the
initiation of a stop. The Intelligence-Led factor (source) may be very specific, such as a named
person, or information about a recent crime trend or pattern tied to a specific location or area.
An officer’s knowledge and intent at the time the stop is initiated is important in determining
whether the stop in Intelligence-Led of an enforcement stop.”
In addition, OPD continues to train officers on procedural justice, which per the National
Initiative for Building Trust and Justice, is based on four central principles: “treating people with
dignity and respect, giving citizens ‘voice’ during encounters, being neutral in decision making,
and conveying trustworthy motives.” These initiatives are intended to: 1) focus attention on
stops likely to have an effect on unlawful activities; and 2) ensure the best possible interaction
with individuals stopped. The intelligence-led policing initiative is credited with reducing the
number of overall stops made by OPD officers, and therefore, a “reduced footprint” on the
community, which is equated to reducing the racial impact specifically on the African American
community. However, data contained within the illustrative tables presented by OPD during the
July Risk Management Meeting does not entirely support this representation.
The data from three OPD Area commands reviewed in July illustrated respective decreases of
26%, 50%, and 47% in the number of stops made during the period under review, which
demonstrates an overall decrease in the policing footprint on the community. However, it does
not necessarily neutralize disparate racial impact.
Searches of individuals stopped by OPD increased in one of the three Areas (16%), which is
consistent with emphasis on intelligence-led stops. However, it decreased in the remaining two
by 7% and 3%, respectively. Another expected result of the emphasis on intelligence-led stops
and accompanying searches is an increase in search recoveries; however, rather than an increase,
overall search recoveries declined in the three Areas by 2%, 13%, and 10%, respectively. The
specific reasons for these results remain in question.
Datasets illustrating search and search recovery rates by population group place overall search
and search recovery rates at 40% and 24%, respectively, as illustrated in the table below:


                                                    Average             Average
                                                   Search Rate        Recovery Rate

                                  All                  37%                  21%
                         African American              42%                  21%
                              Hispanic                 30%                  20%
                                White                  27%                  26%
                                Asian                  25%                  12%
                                Other                  21%                  19%
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Using these averages as a benchmark for discussion, the more detailed data presented for RMM
review disclosed a search recovery rate of 6% for Hispanics in one Area and another Area with
the highest average search rate of 44% yet the lowest average recovery rate of 14% inclusive of
all population groups. The basis of these apparent disparities was not addressed.
The stop data for squads with the most and least stops also illustrated data is worthy of further
analysis and/or resolution. For example, one Area reported that 89% of all stops involved
African Americans; 44% of all stops resulted in searches; and 14% of all searches had
recoveries. However, what was not disclosed was the percentage of African Americans – or any
population group – that was searched, and similarly, the percentage of those searches resulting in
recoveries, thus there is no ability to determine whether racial disparities requiring further
analysis existed. One squad searched 59% of individuals stopped and logged a recovery rate of a
low 5%; another, a reasonable search rate of 15% – but a recovery rate of 8%. These anomalies
have not been nor are we advised they will be carefully analyzed for indicators of racial disparate
treatment.
Stop data for officers with the most stops were also reviewed. This data for the officer with the
highest stop rate, 55% reportedly intelligence-led; 91% of which were African Americans; and a
search rate of 36%, had a recovery rate of 0%. Clearly further analyses are warranted to
determine whether: this is an anomaly for this reporting period or representative of past and
continued activity; the degree to which there may be indicators of racial disparate treatment; or
whether there are factors warranting or supportive of these results. We are not assured this
analysis has been or is underway.
Additional officer data included data-points of concern as follows:
    •   Officer makes 64% intelligence-led stops, 70% of all stops are African American, 66% of
        all stops are searched, with a recovery rate of 9%;
    •   Officer makes 86% intelligence -led stops, 60% of all stops are African American, 36%
        of all stops are searched, with a resulting recovery rate of 6%;
    •   Officer makes 18% intelligence -led stops, 73% of all stops are African American, 59%
        of all stops are searched, with a resulting recovery rate of 0%;
    •   Officer makes 27% intelligence -leg stops, 56% of all stops are African American, 64%
        of all stops are searched, with a resulting recovery rate of 3%.
Each of these datasets raises issues from both an operational standpoint, and from the standpoint
of ensuring that the high search rates and low recovery rates are not bias-based or representative
of disparate treatment. We are not assured such a process is in place.
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Although the above narrative may appear critical, it is not intended to simply criticize, but to
again stress the importance of and encourage a more detailed review of stop data for indicators of
disparate treatment among the population groups. It is also intended to determine, to the extent
possible, whether data disparities – i.e., a comparatively high search rate and accompanying low
recovery – are the result of disparate treatment by officers or other factors external to a squad or
officers’ control. Recognizing the admonishment of Dr. Jennifer Eberhardt of Stanford
University that bias cannot be proven, it remains important to do everything possible to prohibit
its existence in a professional policing context.
Also, in context with above include commentary, we acknowledge and applaud the efforts of
OPD to reduce “the risk of negative disparate impact on the community” through the initiation of
an intelligence-led, precision-based policing model discussed above. We expect and again
encourage OPD to conduct a robust assessment of the various stop data components to identify
and appropriate respond to indicators of disparate treatment within the reduced database. As
previously indicated, this will require the implementation of a consistent intervention strategy to
address identified data disparities, abnormalities, and/or possible bias at the Area, squad, and
individual officer levels – clearly our commentary above finds this a remaining issue.
Generalized reviews of the data with findings that the stops were “consistent with expectations or
policy” provide insufficient explanation of causation within a squad or by an individual officer.
OPD has provided assurances that these concerns will be addressed; we continue to be available
and responsive to OPD in support of these objectives.
OPD continues its relationship with Stanford University and the decision to include the
implementation of the 50 recommendations made by Dr. Eberhardt’s staff in the 2016 study.
OPD has fully implemented 36 of the 50 Stanford recommendations; the remaining 14 are in
progress, 11 of which are the responsibility of OPD. (Stanford has assumed responsibility for
three.)
While OPD continues to advance its efforts to comply with requirements of this Task, we have
previously reported that the below-described specific issues remain incomplete. Accordingly,
we provide the following assessment, and will continue to monitor OPD’s progress on these
issues until the Department achieves full compliance.
Further, we will look for a clear and unambiguous commitment to the provisions of this Task to
ensure that the protocols that have been undertaken will be institutionalized and remain an
integral, sustainable practice:
    •   Implementation of general and specific intervention strategies to address data indicators
        of abnormalities and/or possible bias at the Area, squad, and individual officer levels;
    •   Implementation of processes to provide for a more expeditious compilation of stop data
        prior to, during, and following Risk Management Meetings. The City anticipates that this
        will be achieved by the summer of 2019 with the operational implementation of PRIME
        2.0.
    •   Implementation of the applicable 50 recommendations contained in the 2016 Stanford
        University report. This requirement has been incorporated as an objective by OPD. We
        will continue to report on the progress of OPD’s implementation.
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Task 41: Use of Personnel Assessment System (PAS) and Risk
Management
Requirements:
Within 375 days from the effective date of this Agreement, OPD shall develop a policy for use of
the system, including supervision and audit of the performance of specific members, employees,
supervisors, managers, and OPD units, as well as OPD as a whole.
The policy shall include the following elements:
        1.       The Chief of Police shall designate a PAS Administration Unit. The PAS
                 Administration Unit shall be responsible for administering the PAS policy and, no
                 less frequently than quarterly, shall notify, in writing, the appropriate Deputy
                 Chief/Director and the responsible commander/manager of an identified
                 member/employee who meets the PAS criteria. PAS is to be electronically
                 maintained by the City Information Technology Department.
        2.       The Department shall retain all PAS data for at least five (5) years.
        3.       The Monitor, Inspector General and Compliance Coordinator shall have full
                 access to PAS to the extent necessary for the performance of their duties under
                 this Agreement and consistent with Section XIII, paragraph K, and Section XIV of
                 this Agreement.
        4.       PAS, the PAS data, and reports are confidential and not public information.
        5.       On a quarterly basis, commanders/managers shall review and analyze all
                 relevant PAS information concerning personnel under their command, to detect
                 any pattern or series of incidents which may indicate that a member/employee,
                 supervisor, or group of members/employees under his/her supervision may be
                 engaging in at-risk behavior. The policy shall define specific criteria for
                 determining when a member/employee or group of members/employees may be
                 engaging in at-risk behavior.
        6.       Notwithstanding any other provisions of the PAS policy to be developed, the
                 Department shall develop policy defining peer group comparison and
                 methodology in consultation with Plaintiffs’ Counsel and the IMT. The policy
                 shall include, at a minimum, a requirement that any member/employee who is
                 identified using a peer group comparison methodology for complaints received
                 during a 30-month period, or any member who is identified using a peer group
                 comparison methodology for Penal Code §§69, 148 and 243(b)(c) arrests within
                 a 30-month period, shall be identified as a subject for PAS intervention review.
                 For the purposes of these two criteria, a single incident shall be counted as “one”
                 even if there are multiple complaints arising from the incident or combined with
                 an arrest for Penal Code §§69, 148 or 243(b)(c).
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        7.       When review and analysis of the PAS threshold report data indicate that a
                 member/employee may be engaging in at-risk behavior, the member/employee’s
                 immediate supervisor shall conduct a more intensive review of the
                 member/employee’s performance and personnel history and prepare a PAS
                 Activity Review and Report. Members/employees recommended for intervention
                 shall be required to attend a documented, non-disciplinary PAS intervention
                 meeting with their designated commander/manager and supervisor. The purpose
                 of this meeting shall be to review the member/employee’s performance and
                 discuss the issues and recommended intervention strategies. The
                 member/employee shall be dismissed from the meeting, and the designated
                 commander/manager and the member/employee’s immediate supervisor shall
                 remain and discuss the situation and the member/employee’s response. The
                 primary responsibility for any intervention strategies shall be placed upon the
                 supervisor. Intervention strategies may include additional training,
                 reassignment, additional supervision, coaching or personal counseling. The
                 performance of members/ employees subject to PAS review shall be monitored by
                 their designated commander/manager for the specified period of time following
                 the initial meeting, unless released early or extended (as outlined in Section VII,
                 paragraph B (8)).
        8.       Members/employees who meet the PAS threshold specified in Section VII,
                 paragraph B (6) shall be subject to one of the following options: no action,
                 supervisory monitoring, or PAS intervention. Each of these options shall be
                 approved by the chain-of-command, up to the Deputy Chief/Director and/or the
                 PAS Activity Review Panel.
                 Members/employees recommended for supervisory monitoring shall be monitored
                 for a minimum of three (3) months and include two (2) documented, mandatory
                 follow-up meetings with the member/employee’s immediate supervisor. The first
                 at the end of one (1) month and the second at the end of three (3) months.
                 Members/employees recommended for PAS intervention shall be monitored for a
                 minimum of 12 months and include two (2) documented, mandatory follow-up
                 meetings with the member/employee’s immediate supervisor and designated
                 commander/manager: The first at three (3) months and the second at one (1)
                 year. Member/employees subject to PAS intervention for minor, easily
                 correctable performance deficiencies may be dismissed from the jurisdiction of
                 PAS upon the written approval of the member/employee’s responsible Deputy
                 Chief, following a recommendation in writing from the member/employee’s
                 immediate supervisor. This may occur at the three (3)-month follow-up meeting
                 or at any time thereafter, as justified by reviews of the member/employee’s
                 performance. When a member/employee is not discharged from PAS jurisdiction
                 at the one (1)-year follow-up meeting, PAS jurisdiction shall be extended, in
                 writing, for a specific period in three (3)-month increments at the discretion of the
                 member/employee’s responsible Deputy Chief. When PAS jurisdiction is extended
                 beyond the minimum one (1)-year review period, additional review meetings
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                 involving the member/employee, the member/ employee’s designated
                 commander/manager and immediate supervisor, shall take place no less
                 frequently than every three (3) months.
        9.       On a quarterly basis, Division/appropriate Area Commanders and managers
                 shall review and analyze relevant data in PAS about subordinate commanders
                 and/or managers and supervisors regarding their ability to adhere to policy and
                 address at-risk behavior. All Division/appropriate Area Commanders and
                 managers shall conduct quarterly meetings with their supervisory staff for the
                 purpose of assessing and sharing information about the state of the unit and
                 identifying potential or actual performance problems within the unit. These
                 meetings shall be scheduled to follow-up on supervisors’ assessments of their
                 subordinates’ for PAS intervention. These meetings shall consider all relevant
                 PAS data, potential patterns of at-risk behavior, and recommended intervention
                 strategies since the last meeting. Also considered shall be patterns involving use
                 of force, sick leave, line-of-duty injuries, narcotics-related possessory offenses,
                 and vehicle collisions that are out of the norm among either personnel in the unit
                 or among the unit’s subunits. Division/appropriate Area Commanders and
                 managers shall ensure that minutes of the meetings are taken and retained for a
                 period of five (5) years. Commanders/managers shall take appropriate action on
                 identified patterns of at-risk behavior and/or misconduct.
        10.      Division/appropriate Area Commanders and managers shall meet at least
                 annually with his/her Deputy Chief/Director and the IAD Commander to discuss
                 the state of their commands and any exceptional performance, potential or actual
                 performance problems or other potential patterns of at-risk behavior within the
                 unit. Division/appropriate Area Commanders and managers shall be responsible
                 for developing and documenting plans to ensure the managerial and supervisory
                 accountability of their units, and for addressing any real or potential problems
                 that may be apparent.
        11.      PAS information shall be taken into account for a commendation or award
                 recommendation; promotion, transfer, and special assignment, and in connection
                 with annual performance appraisals. For this specific purpose, the only
                 disciplinary information from PAS that shall be considered are sustained and not
                 sustained complaints completed within the time limits imposed by Government
                 Code Section 3304.
        12.      Intervention strategies implemented as a result of a PAS Activity Review and
                 Report shall be documented in a timely manner.
        13.      Relevant and appropriate PAS information shall be taken into account in
                 connection with determinations of appropriate discipline for sustained
                 misconduct allegations. For this specific purpose, the only disciplinary
                 information from PAS that shall be considered are sustained and not sustained
                 complaints completed within the time limits imposed by Government Code Section
                 3304.
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        14.      The member/employee’s designated commander/manager shall schedule a PAS
                 Activity Review meeting to be held no later than 20 days following notification to
                 the Deputy Chief/Director that the member/employee has met a PAS threshold
                 and when intervention is recommended.
        15.      The PAS policy to be developed shall include a provision that a member/employee
                 making unsatisfactory progress during PAS intervention may be transferred
                 and/or loaned to another supervisor, another assignment or another Division, at
                 the discretion of the Bureau Chief/Director if the transfer is within his/her
                 Bureau. Inter-Bureau transfers shall be approved by the Chief of Police. If a
                 member/employee is transferred because of unsatisfactory progress, that transfer
                 shall be to a position with little or no public contact when there is a nexus
                 between the at-risk behavior and the “no public contact” restriction. Sustained
                 complaints from incidents subsequent to a member/employee’s referral to PAS
                 shall continue to result in corrective measures; however, such corrective
                 measures shall not necessarily result in a member/employee’s exclusion from, or
                 continued inclusion in, PAS. The member/employee’s exclusion or continued
                 inclusion in PAS shall be at the discretion of the Chief of Police or his/her
                 designee and shall be documented.
        16.      In parallel with the PAS program described above, the Department may wish to
                 continue the Early Intervention Review Panel.
        17.      On a semi-annual basis, beginning within 90 days from the effective date of this
                 Agreement, the Chief of Police, the PAS Activity Review Panel, PAS Oversight
                 Committee, and the IAD Commander shall meet with the Monitor to review the
                 operation and progress of the PAS. At these meetings, OPD administrators shall
                 summarize, for the Monitor, the number of members/employees who have been
                 identified for review, pursuant to the PAS policy, and the number of
                 members/employees who have been identified for PAS intervention. The
                 Department administrators shall also provide data summarizing the various
                 intervention strategies that have been utilized as a result of all PAS Activity
                 Review and Reports. The major objectives of each of these semi-annual meetings
                 shall be consideration of whether the PAS policy is adequate with regard to
                 detecting patterns of misconduct or poor performance issues as expeditiously as
                 possible and if PAS reviews are achieving their goals.
        18.      Nothing in this Agreement, and more specifically, no provision of PAS, shall be
                 construed as waiving, abrogating or in any way modifying the Department’s
                 rights with regard to discipline of its members/employees. The Department may
                 choose, at its discretion, to initiate the administrative discipline process, to
                 initiate PAS review or to use both processes concurrently or consecutively.
(Negotiated Settlement Agreement VII. B.)
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Relevant Policy:
OPD revised and issued Departmental General Order D-17, Personnel Assessment Program, in
November 2013. Since our last report, the Department has begun to address General Order D-17
as part of Department’s ongoing policy review and revision program. The revised version of the
relevant policy is currently under review.


Commentary:
Our May 31-June 1, 2018 site visit included considerable activity related to Tasks 40 and 41.
The activity resulted in the juxtaposition of a monthly Risk Management Meeting, along with
workshops that marked the beginning steps in the redesign of PRIME under a newly executed
contract with a new software developer, Sierra-Cedar. Taken together, these events show both
the potential that risk management presents for the Department; but also raise the question about
whether that potential may be fully realized.
The Risk Management Meeting brought together captains from three Department Patrol Areas.
The captains were well prepared for the questions they received from the Assistant Chief and
Deputy Chiefs. Some responses went deeply into the weeds of Area operations. The meeting
also included extensive discussion that went beyond the analysis of stop data, to also consider
broader risk management information, as expected under the NSA. It was not long ago that these
meetings were less thorough – and arguably, less productive.
During the site visit, Sierra-Cedar also conducted workshops as an early step in its redesign of
PRIME. These workshops, on the PAS risk management process and on the complaint process,
were intended to elaborate the workflow in preparation for software development. Department
members from the appropriate offices methodically walked the consultants through their
procedures.
Sierra-Cedar’s process elicited detailed information, but also suggested two potential problems
with the Department’s approach to this project. First, command staff attended these meetings,
but we are concerned that the conversations tended to describe current practices without
acknowledging their limitations or problems. The result was to add to the burden on the
consultant to recognize and solve problems, rather than to share that burden more equitably with
the local experts.
The second and related problem with the process was that the discussion did not challenge
elements of clumsiness and redundancy in processes such as the multiple-step PAS review
process. The discussion did not explore the potential for better organization and greater
efficiency. Instead, those issues are being left to the consultants. Although it may be to a lesser
degree than in the past, this surrender of responsibility to the external team was one of the
problems that affected the first unsuccessful development of the PRIME database.
Avoiding the problems of the past is clearly a goal of the Department’s renewed effort. Some
key steps have been taken, and Sierra-Cedar’s approach to the project is clearly helpful. Yet
project management within OPD has always been one of the organization’s greatest challenges.
The project could benefit from the clear direction of a champion and increased involvement for
Departmental leadership.
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In addition, in the past, under the first work of PRIME, there was limited discussion of the data
that would be collected, and how that data might be used for the reduction of risk – as well as for
the broader purpose of managing the Department. The Department must avoid this problem if it
is to be successful.
Below are five issues that the Department should consider as the development process continues:
    1. First, the Department should better understand what information will help OPD maintain
       compliance with NSA requirements. Across virtually all NSA Tasks, it is clear that it
       will be important to use data to audit continued compliance. PRIME will be one of the
       main repositories for this data within the Department. In fact, data requirements for risk
       management are explicit in Task 40. Tracking of nearly 30 pieces of information – from
       number of uses of force and complaints, to numbers of cases rejected for prosecution – is
       not relevant only to achieving compliance, but it will also support the robust management
       and administrative process. This information should be tracked on a monthly basis, as it
       was before problems with PRIME development derailed the process. The Department
       should immediately return to collecting, analyzing, and tracking this data.
        The appendices to this report contain three tables that had been produced regularly,
        originally by the Monitoring Team and then by OPD. OPD ceased the production of
        these tables when the original PRIME development activity began and that condition was
        maintained as problems with PRIME prevented some data-reporting.
             •   Table 1 tracks and charts the data required under Task 40.
             •   Table 2 tracks the PAS review process, and allows for review of the number of
                 officers reviewed; the consistency of decision-making across the levels of the
                 process, and of the outcomes of the review process.
             •   Table 3 tracks Department activity – including use of force, complaints, vehicle
                 collisions, and lawsuits lodged against the Department; and reports that
                 information based on the percentages of all arrests.
        The information in these tables is useful for tracking processes and outcomes relevant to
        Tasks 40 and 41 – and to the overall management of the Department. OPD should
        recreate these tables to provide monthly reporting of data to support the management of
        risk by the Department.
    2. A second and related issue that the Department should address as the PRIME rebuild
       progresses is the construction of reports that will assist the management process. It will
       be important to program standard reports that will be generated by the database at regular
       intervals. A wide range of reports should be designed. A focused process will be needed
       to determine what data, beyond the Task 40 information, will be useful for planning and
       decision-making. For example, it may be useful to regularly identify highly productive
       officers – as well as those for whom levels of documented activity such as pedestrian
       stops, citations, and arrests are low.
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    3. The two issues noted above suggest a more technical issue that should also be addressed.
       Decisions should be made not only regarding what data to track – but also what that data
       should look like and how it should be presented. In some cases, it may be useful to
       present counts of raw data, for example, to assess the stability of change in the numbers
       of arrested or patterns of arrest for specific offenses. For other purposes, it may be more
       useful to norm the data in particular ways. Rates of uses of force or complaints normed
       by the number of arrests are illustrative, but other compiled statistics may also be useful.
       That might include considering, for example, how far above or below the average officers
       in some assignments may be on stop data measures.
    4. The two examples above also point to a more basic concern that should be addressed in
       parallel with the rebuild of PRIME. In its most general form, the key issue to address is
       to identify the questions the Department wants to be able to answer with data. For
       example, regular reviews of officer behavior resulting in discipline can provide
       information that can be useful for recruitment and training. Understanding officer
       productivity as it relates to assignments or years of service could help plan career paths,
       and patterns of sick time use might help in the design of officer wellness programs. In
       short, the rebuild of PRIME should be accompanied by a deliberate effort to identify the
       questions that the database can help answer and that can help inform management
       processes.
    5. It is also important to consider how the data in PRIME can be used to assess how well the
       risk management system is working. Does the system identify the right officers? Does it
       do so in a timely fashion? What is the actual content of monitoring and intervention; and,
       of course, do these processes work? That is, do they change the officer behavior that led
       to their use in the first place?




Task 45: Consistency of Discipline Policy
Requirements:
On or before October 6, 2003, OPD shall revise and update its disciplinary policy to ensure that
discipline is imposed in a fair and consistent manner.
        1.       The policy shall describe the circumstances in which disciplinary action is
                 appropriate and those in which Division-level corrective action is appropriate.
        2.       The policy shall establish a centralized system for documenting and tracking all
                 forms of discipline and corrective action, whether imposed centrally or at the
                 Division level.
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        3.       All internal investigations which result in a sustained finding shall be submitted to
                 the Discipline Officer for a disciplinary recommendation. The Discipline Officer
                 shall convene a meeting with the Deputy Chief or designee in the affected chain-
                 of-command for a confidential discussion of the misconduct, including the
                 mitigating and aggravating factors and the member/employee’s overall
                 performance.
        4.       The COP may direct the Discipline Officer to prepare a Discipline
                 Recommendation without convening a Discipline Conference.
(Negotiated Settlement Agreement X. B.)


Relevant Policy:
Five Departmental policies incorporate the requirements of Task 45: Departmental General
Order M-03, Complaints Against Department Personnel and Procedures (published December 6,
2005 and revised most recently on August 24, 2013); Training Bulletin V-T.1 and V-T.2,
Internal Investigation Procedure Manual (published July 17, 2008); Internal Affairs Policy and
Procedure Manual (published December 6, 2005); and Training Bulletin V-T, Departmental
Discipline Policy (published March 14, 2014). Several of these policies are currently being
revised.


Commentary:
Task 45.2 requires that OPD maintain a centralized system for documenting and tracking all
OPD forms of discipline and corrective action, whether imposed centrally or at the division level.
To assess Phase 2 compliance with this subtask, we reviewed the 44 cases that contained at least
one sustained finding that were approved in March, April, and May 2018. All (100%) of these
cases and findings contained all of the necessary information available on the spreadsheet
generated by IAD for our review. OPD is in compliance with the requirement that it maintain an
adequate system for documenting and tracking discipline and corrective action.
The NSA also requires that discipline be imposed in a manner that is fair and consistent. To this
end, the Department developed a Discipline Matrix, which was adopted on September 2, 2010
and was in effect until a new Discipline Matrix was approved on March 14, 2014. This
subsequent Matrix applies to violations after that date.
As noted above, we reviewed all 44 cases with sustained findings that were approved between
March 1-May 31, 2018. Five cases involved the failure to accept or refer complaints, some with
sustained charges for multiple officers. The last review for Task 45 contained six cases for this
MoR violation. We are concerned with this trend, particularly since our spot review of Task 6
(Refusal to Accept or Refer Citizen Complaints) for our last report uncovered some compliance
issues.
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Three cases involved obedience to laws – specifically, an arrest for domestic violence, a citation
for failure to properly secure a personal firearm, and a Driving Under the Influence (DUI) arrest.
The latter case also involved a finding that the officer resisted arrest, and termination was the
recommended penalty. In two cases, untruthfulness was alleged. Another case involved an
allegation of excessive force; while in another, improper demeanor was alleged. In one case, the
officer was sustained for failing to serve a restraining order. Twenty-six cases involved
preventable motor vehicle accidents; and in the final case, officers were sustained for violating
the pursuit policy.
In each case, unless otherwise documented in writing, the proposed discipline fell within the
Discipline Matrix that was in effect at the time of the action for which the discipline was
imposed.
During April, May, and June 2018, OPD held three Skelly hearings for IAD cases involving
employees with sustained findings in which discipline of a one-day suspension or greater was
recommended. We reviewed the Skelly reports, and found that they contained adequate
justification for the results documented. Two cases involved preventable motor vehicle
accidents. The proposed suspensions (one and two days, respectively) were upheld, with the
concurrence of the Chief. The third case stemmed from the DUI arrest of a sworn officer,
mentioned above. The proposed penalty of termination was upheld, again with the concurrence
of the Chief. The reports were generally well-written and followed the established format.
We reviewed the training records that OPD provided, and confirmed that all Skelly hearing
officers received the approved Skelly Officer Training in January 2016. Additionally, all active
Skelly officers received refresher training on April 26, 2017. No additional training was
provided during this reporting period. We note that since the last refresher training was offered
well over a year ago, the Department may want to consider providing another refresher, as well
as initial training for any command staff promoted since the last training was offered.
OPD received two arbitration decisions during April, May, and June 2018. The arbitrators in
each case sided with the City on the merits of the case; but in one case, the proposed discipline of
a ten-day suspension was reduced to five days. Based on the documentation, it appeared that the
City prepared and presented its cases in an exemplary manner.
OPD remains in partial compliance with Task 45.




Conclusion
As the development of PRIME moves forward, it presents an opportunity to also look beyond the
technology to how this system can best serve the Department. Considering that now will be
important to sustaining the progress that continues to be made under the NSA and for moving
forward in the future. The best way to take advantage of that opportunity is to carefully think
through the specific details of how the risk management database and the risk management
process can be used to advance Department management.
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As noted in our last report, the Monitoring Team is currently reviewing OPD data on use of
force; we are concerned with the increase in complaints recently noted by the Department. The
purpose of our analysis is to more fully understand the significant drops that are being reported
in PRIME. Our analysis will compare arrest reports with use of force reports – particularly for
cases such as those involving assault on an officer, disorderly conduct, and obstructing or
resisting arrest. We will report on this further in future monthly status reports.




Chief (Ret.) Robert S. Warshaw
Monitor
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Appendix Table 1. This table tracks and charts the data required by Task 40.


                            OPD Performance Activity Comparison by Quarter

                                   Ja              Ju       Se    Oc             Ma      Ap             Se         Oc            Gr
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                                      31,20                                                                                      st
                                         13                                                                                      8
                                                                                                                                 Qrt
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Performance Activity
Level 1 Uses of Force                 1          3         3              0          0           0             0            0

Level 2 Uses of Force                 3          10        4              8          1           7             1            1

Level 3 Uses of Force                 26         26       12             24         14          16             7           17

Level 4 Uses of Force                509        483       412           314        564         276           280          280

Unintentional Firearms Discharge      0          0         0              0          0           2             0            0

Sick Leave Hours                   11286.53   11041.94   11390       10935        9724     7798.08       8693.47       9745.74

Line of Duty Injuries                 32         54       54             23         54           8             5            0

Narcotics Related Possessory
Offenses Arrests                     407        560       496           669        914         804           690          528
Vehicle Collisions                    18         12        6             17         34          11            13           20

All Vehicle Pursuits                  18         64       87             68         43          16            28           28

All Arrest                           2853       3697     2759         3156        3743        4161          3756         4155

Arrests including PC 69, 148(a),
243(b)(c) & 245(c)(d)                 34         36       28             27         27          25            21           35

Arrests only for PC 69, 148(a),
243(b)(c) & 245(c)(d)                 9          4         5              2          1          12             5           14

Awards                                76         55       65            124        102         115            40           92

Assignment History                  10361      10337     10257       10361       11156       11337         34794        36084

Case Evaluation Reports              635        444       338           497        315         198           225          446

Report Review Notices--Positive       5          8         1              1          1           5             5            2

Report Review Notices--Negative       0          0         0              0          1           0             0            0

Canine Deployments                    64         59       57             50         66           0             2           46

Financial Claims                      0          0         0              0          0           0             0            0

Internal Affairs Complaints          186        295       140           136        150         192           207          174

In-Custody Injuries                   21         13        2             31          4          12             4           13

Civil Suits (Tort Claims)             4          4         2              4          0           8            13            9
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Criminal Cases Dropped        416     282     207          352      226      116        132    290

O.C. Checkouts                58      16       61           13      116        82        20     57

Officer Involved Shootings     2       3       1             0        1           3       0     3

Rank / Class History         2391    2334     2357        7302     2519     2521       2510   2507

Training History             20108   19589    8557       13827    17239     22886     13273   8711

Supervisory Notes            3139    3304     2852        2957     3114     3721       3635   4012

Arrest Made Against OPD        0       0       0             1        1           0       1     0
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Appendix Table 2. This table provides a summary of PAS decisions at every step of the
process.


                                      Summary of PAS Reviews and Recommendations
                PA    Su                             Su              Su              Su              Co                 De              PA                   Nu
                S     per                            per             per             per             m                  p.              S                    mb
                Re    vis                            vis             vis Int         vis             ma                 Ch              Pa                   er
                vie   or                             or Mo           or erv          or              nd                 ief             nel                  of exc
                ws    Re                             Re nit          Re ent          con             er                 Co              Co                   pereed
                Co    c-                             c - ori         c- ion          cur             rec                nc Co           nc                   soned
                                                         ng                                                             ursm            urs                  nela
                mp    no act                                                         s PA            Co w
                let                     Re                                           witS            nc Su              w ma            w                    thathr
                        ion                                                                                                 nd
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                                                                                                                                                       ng
                                 %              %                %              %              %                    %              %             %

  2014

January     3           2      67%     0       0%     1        33%    0        0%      3      100%    3       100%       3       100%    2     67%     5      18

February    0           0              0              0               0                0              0                  0               0            13      1

March       7           4      57%     0       0%     2        29%    1        14%     7      100%    7       100%       7       100%    7     100%    8      11

April       20         18      90%     0       0%     1        5%     1        5%     15      75%     19      95%        19      95%     18    90%     0      14

May         9           6      67%     0       0%     3        0%     0        0%      9      100%    9       100%       8       89%     8     89%     0      1

June        10          9      90%     0       0%     1        0%     0        0%      8      80%     9       90%        9       90%     10    100%   19      14

July        9           8      89%     0       0%     1        11%    0        0%      9      100%    9       100%       9       100%    9     100%   20      17

August      9           7      78%     0       0%     2        22%    0        0%      9      100%    9       100%       9       100%    8     89%    16      1

Septemb     3           3      100%    0       0%     0        0%     0        0%      2      67%     2       67%        3       100%    3     100%   33      22
er

October     17         13      76%     1       6%     3        18%    0        0%     14      82%     15      88%        15      88%     16    94%     4      0

Novembe     3           3      100%    0       0%     0        0%     0        0%      3      100%    3       100%       3       100%    3     100%   32      14
r

Decembe     15         13      87%     0       0%     2        13%    0        0%     14      93%     15      100%       15      100%    14    93%    23      3
r




Total      105         86              1             16               2               93              93                101              98                  116

Running

Average    11.7        9.6     0.0    0.1      0.0   1.8       0.0   0.2       0.0                   10.3     0.0       11.2     0.0    10.9   0.0    0.0    12.9
                                                                                                                                                                                                                                                                                                                                                                        Page 24 of 24
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                                                                                                                   PAS ADMIN UNIT STATISTICAL COMPARISON
                                                                                                                                                                                                                                                                            percentage of arrests.



                                                                                        Oakland Police Department                                                  Key Indicator By Month
         Percent of Arrests
             Associated with




                                           JUL 10
                                                    AUG 10
                                                             SEP 10
                                                                      OCT 10
                                                                               NOV 10
                                                                                        DEC 10
                                                                                                 JAN 11
                                                                                                          FEB 11
                                                                                                                   MAR 11
                                                                                                                            APR 11
                                                                                                                                     MAY 11
                                                                                                                                              JUN 11
                                                                                                                                                        JUL 11
                                                                                                                                                                 AUG 11
                                                                                                                                                                          SEP 11
                                                                                                                                                                                   OCT 11
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                                                                                                                                                                                                     DEC 11
                                                                                                                                                                                                              Jan 12
                                                                                                                                                                                                                       Feb 12
                                                                                                                                                                                                                                Mar 12
                                                                                                                                                                                                                                         APR 12
                                                                                                                                                                                                                                                  MAY 12
                                                                                                                                                                                                                                                           JUN 12
                                                                                                                                                                                                                                                                    Graph




  A 	Us e	o f	F o rc e	(levels 	1,2,3	-	
      pe r	re po rting 	o f f ic e r )     7.57     1.93     4.10     2.31     3.78     1.21     2.89     2.24     2.21     1.60     2.35     1.66      2.64     1.66     1.01     5.72     6.70     0.84     2.98     2.45     1.24     2.11     1.76     0.71
     A Use of Force (levels
 1,2,3,4** - per reporting
                           officer) 43.20           36.37 49.03 39.24 52.02 47.44 37.64 37.98 25.91 29.34 42.82                               35.61     32.24    32.31    31.15    24.68 25.17 34.21 25.76 34.88 31.94 34.62 27.22 24.57
     A Police Pursuit (per
          reporting officer) 5.92                   4.36     3.99     5.67     6.30     2.16     4.39     4.73     2.13     3.04     4.04     1.57      2.91     4.90     1.56     2.53     2.30     3.09     1.72     2.36     2.17     3.60     2.53     0.79
   An IA Complaint (per
     subject officer sworn
                               only) 13.25          9.93     11.17    7.41     7.93     9.43     9.12     10.71    8.45     6.91     7.14     9.01      10.20    8.67     8.10     9.59     9.19     6.19     9.16     12.76    8.29     11.16    7.21     2.84
     An In-Custody Injury 2.72                      3.14     2.62     1.97     5.29     0.54     2.66     1.37     2.05     1.60     4.04     0.52      1.28     1.23     1.17     4.31     3.35     0.37     3.05     2.10     1.24     2.02     0.84     0.47
  Each Hour of Sick Leave
       (excludes civilians) 303.79 330.37 290.42 364.04 323.43 ##### 216.71 254.17 170.88 180.53 226.38 221.01                                         210.02 229.51 184.11 230.26 283.83 235.15 227.25 249.13 277.60 283.70 209.65 158.94



  Number of Arrests per
           (blank if o cases) JUL 10 AUG 10SEP 10 OCT 10NOV 10DEC 10JAN 11 FEB 11MAR 11APR 11MAY 11 JUN 11                                             JUL 11 AUG 11 SEP 11 OCT 11NOV 11DEC 11 Jan 12 Feb 12 Mar 12 APR 12MAY 12JUN 12
 Officer Involved Shooting
       (includes shootings
                                                                                                                                                                                                                                                                                                                                                                        Fifty-Fifth Report of the Independent Monitor for the Oakland Police Department




involving animals which
includes force types 1,21,
         24, 27 and 26-21)* 281.67 987.00 292.33 864.00 397.00 247.33 144.33                              0.00 633.00 395.33 532.50 571.50             1098.00 571.00 1284.00 0.00          0.00 533.50 0.00 572.00 430.00 0.00                   0.15     0.08
            Vehicle Collisions
       (excludes civilians) 211.25 109.67 146.17                               79.40 148.40 433.00 160.60 316.50 169.43 177.50 571.50                  1098.00 285.50 321.00 336.25 ##### 0.00 182.43 0.00 215.00 0.53                            0.31     0.08
        Civil Suit (excludes
                        civilians) 140.83 82.25 109.63 72.00                   99.25 67.45 78.73 47.24 211.00 197.67 56.05 1143.00 1098.00 380.67 1284.00 336.25 95.00 152.43 0.00                                     0.00 645.00 0.26           0.15     0.08
          All Arrest (totals)              845      987      877      864      794      742      866      803      1266     1186     1065     1143      1098     1142     1284     1345     1045     1067     1277     1144     1290     1138     1304     1266
                                                                                                                                                                                                                                                                                                                                                                                                                                                          Case 3:00-cv-04599-WHO Document 1210 Filed 08/23/18 Page 24 of 24




                                                                                                                                                                                                                                                                            Appendix Table 3. This table tracks OPD use of force, complaints, and other activity as a
